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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                              CASE NO. 1:96-cr-00020-MP-AK

MICHAEL PHILLIP TELEMAQUE,

        Defendant.

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                                            ORDER

        This matter is before the Court on Doc. 536, a copy of a motion captioned for a circuit

court in Arkansas, filed by Michael Phillip Telemaque. The motion is incomprehensible and

does not appear to ask for any relief in this Court. To the extent that it was intended to ask for

relief, that relief is denied.

        DONE AND ORDERED this 11th day of March, 2010


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
